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              EXHIBIT “2”
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                          UNITED STATES DISTRICT COURT
                                         DISTRICT OF COLUMBIA


                                                       )
                     Plaintiff(s)                      )
                                                       )
vs.                                                    )      Case Number:
                                                       )
                                                       )
                    Defendant(s)

                                               FOR PRO HAC VICE
                            (to be attached to Motion for                           )

       I                                                                                   that
the answers to the following questions are complete, true, and correct:
      Full Name:                    .
      State bar membership number:
      Business address, telephone and fax numbers:


      List all state and federal courts or bar associations in which you are a member “in good standing”
      to practice law:


      Have you been denied admission, disbarred, suspended from practice, reprimanded, denied “in
      good standing” status, or otherwise disciplined by any court, bar association, grievance committee
      or administrative body? Yes             No

      Have any proceedings which could lead to any such disciplinary action been instituted against you
      in any such bodies?      Yes      __ _No
      (Please attach a statement explaining any “Yes” answers to questions 5 or 6.)

      List the number of times the attorney has been admitted pro hac vice into this court within the last
      two years.
      (If your principal office is located in the District of Columbia, please answer questions 8 and 9.)

      Are you a member of the DC Bar?

      Do you have a pending application for admission into USDC for the District of Columbia?
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       In compliance with Local Rule 83.2(b) or LCrR 44.1(b), an attorney who wishes to appear as sole or
lead counsel in a contested evidentiary hearing or

                                          (CHECK ALL ITEMS THAT APPLY)

             has previously acted as sole or lead counsel in a federal district court or the Superior Court of the District of
             Columbia or a state trial court of general jurisdiction in a contested jury or bench trial or other contested
             evidentiary hearing in which testimony was taken in open court and an order or other appealable judgment was
             entered. [LCvR 83.2(b)(1)/LCrR 44.1(b)(1)]; OR

             has participated in a junior capacity in an entire contested jury or bench trial in a federal district court or the
             Superior Court of the District of Columbia or a state trial court of general jurisdiction. [LCvR 83.2(b)(2)/LCrR
             44.1(b)(2)]; OR


             has satisfactorily completed a continuing legal education trial advocacy course of at least 30 hours sponsored
             by the District of Columbia Bar or accredited by a State Bar. [LCvR 83.2(b)(3)/LCrR 44.1(b)(3)]




       I declare under penalty of perjury that the foregoing is true and correct.
     February 4, 2025
            DATE                                                                    SIGNATURE OF ATTORNEY




                                                               2
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    Supreme Court of New Jersey



        Certificate of Good Standing
       This is to certify that                MARGARET ELLEN MAIGRET
(No.      047972011         ) was constituted and appointed an Attorney at Law of New
Jersey on                           December 07, 2011                      and, as such,
has been admitted to practice before the Supreme Court and all other courts of this State
as an Attorney at Law, according to its laws, rules, and customs.

       I further certify that as of this date, the above-named is an Attorney at Law in
Good Standing. For the purpose of this Certificate, an attorney is in “Good Standing” if
the Court’s records reflect that the attorney: 1) is current with all assessments imposed as a
part of the filing of the annual Attorney Registration Statement, including, but not
limited to, all obligations to the New Jersey Lawyers’ Fund for Client Protection; 2) is not
suspended or disbarred from the practice of law; 3) has not resigned from the Bar of this
State; and 4) has not been transferred to Disability Inactive status pursuant to Rule 1:20-
12.

       Please note that this Certificate does not constitute confirmation of an attorney’s
satisfaction of the administrative requirements of Rule 1:21-1(a) for eligibility to practice
law in this State.
                                                   In testimony whereof, I have
                                                   hereunto set my hand and
                                                   affixed the Seal of the
                                                   Supreme Court, at Trenton, this
                                                   11th day of July, 2024.



                                                            Clerk of the Supreme Court
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           Appellate Division of the Supreme Court
                    of the State of New York
                   Second Judicial Department


     I, Darrell M. Joseph, Clerk of the Appellate Division of the
Supreme Court of the State of New York, Second Judicial
Department, do hereby certify that

                  Margaret Maigret Donovan
was duly licensed and admitted to practice as an Attorney and
Counselor at Law in all the courts of this State on June 20, 2012,
has duly taken and subscribed the oath of office prescribed by law,
has been enrolled in the Roll of Attorneys and Counselors at Law
on file in this office, is duly registered with the Office of Court
Administration, and         according to the records of this Court is
currently in good standing as an Attorney and Counselor-at-Law.



                              In Witness Whereof, I have hereunto set
                              my hand in the City of Brooklyn on July
                              11, 2024.




                                    Clerk of the Court


CertID-00182758
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                                  Appellate Division
                         Supreme Court of the State of New York
                              Second Judicial Department
                                   45 Monroe Place
                                Brooklyn, N.Y. 11201
                                        (718) 875-1300
 HECTOR D. LASALLE                                                          KENNETH BAND
   PRESIDING JUSTICE                                                          DEPUTY CLERKS

                                                                          MELISSA KRAKOWSKI
DARRELL M. JOSEPH
  CLERK OF THE COURT                                                         WENDY STYNES
                                                                            LAUREN G. DOME
                                                                           BRIAN E. KENNEDY
                                                                              January 7, 2005
                                                                          ASSOCIATE DEPUTY CLERKS



To Whom It May Concern


      An attorney admitted to practice by this Court may request a certificate of
good standing, which is the only official document this Court issues certifying to an
attorney's admission and good standing.


       An attorney's registration status, date of admission and disciplinary history
may be viewed through the attorney search feature on the website of the Unified
Court System.


        New York State does not register attorneys as active or inactive.


      An attorney may request a disciplinary history letter from the Attorney
Grievance Committee of the Second Judicial Department.


      Bar examination history is available from the New York State Board of Law
Examiners.


        Instructions, forms and links are available on this Court's website.




                                                  Darrell M. Joseph
                                                  Clerk of the Court




Revised March 2024
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                                                           UNITED STATES DISTRICT COURT
                                                                   DISTRICT OF CONNECTICUT


                                    450 Main Street                   141 Church Street                915 Lafayette Boulevard
                                    Hartford, CT 06103                New Haven, CT 06510              Bridgeport, CT 06604
                                    Phone: 860.240.3200               Phone: 203.773.2140              Phone: 203.579.5861
                                    Fax: 860.240.3211                 Fax: 203.773.2334                Fax: 203.579.5867



                                    July 10, 2024
            Dinah Milton Kinney
                           Clerk

    Monica Watson Cucchiarelli      Re: Standing in the Federal Bar
            Chief Deputy Clerk
                                        Attorney Margaret Donovan, Federal Bar No. phv09772
               Andrea Perce
     Human Resources Manager
                                       To Whom This May Concern:
            Christopher Newton
 Information Technology Manager                   As Deputy Clerk for the District of Connecticut, I certify that
               Melissa Ruocco          based on the information and records in the Clerk’s Office for the
   Division Manager, New Haven


                  Joanne Pesta
                                       District of Connecticut, Attorney Margaret Donovan, Federal Bar No.
     Division Manager, Bridgeport
                                       phv09772, is in good standing in the District of Connecticut federal bar,
                  Michael Bozek
       Division Manager, Hartford      that she has had federal government courtesy admission to the federal
                  Michelle Rynne       bar for the District of Connecticut since October 15, 2018, and that she
Operations Analytics Manager and
 Courthouse Construction Liaison
                                       has not been the respondent in any grievance matter or the subject of

                                       discipline by the Court.


                                                                             Sincerely,

                                                                             _______________________
                                                                             Joanne Pesta
                                                                             Deputy Clerk, Bridgeport




                                                                                                          Rev. 7/10/24
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